I concur with the award of benefits for the back injury. I must dissent, however, from that portion of the majority opinion finding the left knee condition to be compensable and awarding medical expenses related to the left knee. The evidence shows that plaintiff lifted a heavy kit case and turned to put it in the trunk of his car, as he had on numerous occasions. At that time, he felt immediate pain in his left knee, which had a long treatment history, including several surgeries. The relevant issue is whether there was an "injury by accident" within the meaning of the Act. I disagree with the majority's willingness to find unusual exertion based on the fact that plaintiff was fatigued because he had put in a twenty-two hour day, which the evidence shows was not unusual for him. Furthermore, there is no logical connection between his fatigue and the knee injury and no medical testimony to that effect.
Accordingly, I respectfully dissent from that portion of the award relating to the left knee.
                                  S/_____________ RENEE C. RIGGSBEE COMMISSIONER